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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

   VPNETWORKS, LLC
   D/B/A TORGUARD,

          Plaintiff,                           Case No: 6:19-cv-01179-ORL-40LRH
   vs.

   COLLECTIVE 7, INC.; TEFINCOM S.A.
   D/B/A NORDVPN; TOMAS OKMANAS,
   individually; and SHIV GAUTAM, individually;

         Defendants.
   ______________________________________/

                   SECOND JOINT ARBITRATION STATUS REPORT

          Plaintiff, VPNetworks, LLC, d/b/a TorGuard (“TorGuard”), and Defendants,

   COLLECTIVE 7, INC. (“Collective 7”), TEFINCOM S.A. D/B/A NORDVPN

   (“NordVPN”), TOMAS OKMANAS (“Okmanas”), individually, and SHIV GAUTAM

   (“Gautam”), individually, file this Second Joint Arbitration Status Report pursuant to the

   Court’s February 28, 2020 Order compelling arbitration, and state as follows:

          1.      On June 26, 2019, TorGuard filed a complaint against Defendants

   Collective 7 and NordVPN. Doc. 1.

          2.      On October 10, 2019, NordVPN filed a motion to compel arbitration.

   Doc. 35.

          3.      On February 20, 2020, NordVPN filed an amended complaint, adding

   Okmanas and Gautam as Defendants. Doc. 55.




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          4.       On February 28, 2020, the Court entered an order compelling arbitration,

   staying the case pending arbitration, and directing the parties to file a joint report on the

   status of arbitration on April 28, 2020. Doc. 62. The Court subsequently entered an

   endorsed order directing the clerk to administratively close the case. Doc. 63.

          5.      On March 26, 2020, TorGuard filed a motion to reopen case and for

   reconsideration (the “Motion for Reconsideration”) of the Court’s order compelling

   arbitration and staying the case. Doc. 65.

          6.      The Court denied the Motion for Reconsideration on June 10, 2020.

          7.      As of the date of this Second Joint Arbitration Status Report, TorGuard is

   in the process of preparing to initiate arbitration pursuant to this Court’s order.

   Dated: June 26, 2020

   Respectfully Submitted,



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                             CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that on June 26, 2020 a true and correct copy of the foregoing was

   served by the Court's CM/ECF system which will cause a copy to be served on all

   counsel of record.




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